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                                        EXHIBIT A
TO OPPOSITION TO PLAINTIFF'S MOTION FOR ATTORNEY FEES, COSTS AND EXPENSES
                             Case 3:19-cv-00706-JM-BGS Document 61-1 Filed 05/22/20 PageID.2101 Page 2 of 26
 Strategic Legal Practices – Fee Billing Statement

  Date            Time     Description                            Time   Rate       Total       Comments                            Reasonable   Reasonable   Reasonable
                  keeper                                                                                                            Time         Rate         Total
  7-6-2018        AN       Review file and draft repair history   3.80   $385.00    $1,463.00                                       2.2          $300.00      $651.43
                           in preparation of the complaint.

  7-9-2018        AN       Continue drafting repair history;      2.50   $385.00    $962.50     Unreasonable and excessive. Stock   1.4          $300.00      $428.57
                           and draft complaint.                                                 complaint.


  7-16-2018       TD       Revise and finalize complaint and      1.50   $375.00    $562.50                                         0.9          $300.00      $257.14
                           all supporting documents for filing

  7-25-2018       DT       Draft Bang class action opt out        0.30   $385.00    $115.50                                         0.2          $300.00      $51.43

  8-9-2018        AN       Draft written discovery requests       2.00   $385.00    $770.00     Excessive, same boilerplate plate   1.1          $300.00      $342.86
                           (RFP, SIN, FIN, RFA and PMQ                                          requests in every case.
                           depo
                           notice).

  8-10-2018       AN       Continue drafting discovery            3.80   $385.00    $1,463.00   Excessive, same boilerplate plate   2.2          $300.00      $651.43
                           requests                                                             requests in every case.

  8-10-2018       TD       Revise and finalize discovery          0.50   $375.00    $187.50     Excessive, same boilerplate plate   0.3          $300.00      $85.71
                           requests for service                                                 requests in every case.

  8-20-2018       CW       Email to opposing counsel granting     0.10   $375.00    $37.50                                          0.1          $300.00      $17.14
                           extension to filing answer

  8-21-2018       CW       Email from opposing counsel re:        0.10   $375.00    $37.50                                          0.1          $300.00      $17.14
                           Extension of answer deadline

  8-29-2018       CW       Emails and calls to opposing           0.30   $375.00    $112.50                                         0.2          $300.00      $51.43
                           counsel re case


  8-29-2018       CW       Review - Def objections to notice      0.10   $375.00    $37.50                                          0.1          $300.00      $17.14
                           of deposition PMK

  9-5-2018        CW       Review letter from OPC re: venue       0.40   $375.00    $150.00     Plaintiff filed complaint in the    0.2          $300.00      $68.57
                           and research re same                                                 wrong court. BMW NA’s Motion
                                                                                                to Transfer Venue granted.
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  Date            Time     Description                          Time   Rate       Total     Comments                           Reasonable   Reasonable   Reasonable
                  keeper                                                                                                       Time         Rate         Total
  9-17-2018       YH       Draft Opposition to Motion to        1.50   $350.00    $525.00   Plaintiff filed complaint in the   0.0          $300.00      $0.00
                           Transfer                                                         wrong court. BMW NA’s Motion
                                                                                            to Transfer Venue granted.
  9-17-2018       CW       Email from OPC re: extension         0.10   $375.00    $37.50                                       0.1          $300.00      $17.14
                           request


  9-19-2018       CW       email to OPC re: extension for       0.10   $375.00    $37.50                                       0.1          $300.00      $17.14
                           BMW to respond

  9-19-2018       CW       Review and revise- opp to motion     2.50   $375.00    $937.50   Plaintiff filed complaint in the   0.0          $300.00      $0.00
                           to transfer venue                                                wrong court. BMW NA’s Motion
                                                                                            to Transfer Venue granted.
  9-20-2018       YH       Finalize Opposition to Motion to     0.90   $350.00    $315.00   Plaintiff filed complaint in the   0.0          $300.00      $0.00
                           Transfer with CW edits for filing                                wrong court. BMW NA’s Motion
                                                                                            to Transfer Venue granted.
  9-24-2018       CW       Review: Def responses to discovery   0.30   $375.00    $112.50                                      0.2          $300.00      $51.43

  9-24-2018       CW       Review - Def M&C                     0.10   $375.00    $37.50                                       0.1          $300.00      $17.14
                           correspondence re: discovery
                           responses

  9-26-2018       CW       Review - Def reply to motion to      0.20   $375.00    $75.00    Plaintiff filed complaint in the   0.0          $300.00      $0.00
                           transfer                                                         wrong court. BMW NA’s Motion
                                                                                            to Transfer Venue granted.
  10-2-2018       CW       Call to clerk re: oral argument      0.10   $375.00    $37.50                                       0.1          $300.00      $17.14



  10-2-2018       CW       Email to OPC re: contesting          0.20   $375.00    $75.00                                       0.1          $300.00      $34.29
                           tentative

  10-2-2018       TD       Review tentative ruling; conduct     2.00   $375.00    $750.00                                      0.0          $300.00      $0.00
                           research; prepare for MFT Hearing

  10-3-2018       TD       Prepare for and attend BMW OF        2.00   $375.00    $750.00   Plaintiff filed complaint in the   0.0          $300.00      $0.00
                           NORTH AMERICA's motion to                                        wrong court. BMW NA’s Motion
                           transfer hearing by Court Call                                   to Transfer Venue granted.




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  Date            Time     Description                           Time   Rate       Total       Comments                           Reasonable   Reasonable   Reasonable
                  keeper                                                                                                          Time         Rate         Total
  10-4-2018       JO       Review defendant's discovery          0.50   $425.00    $212.50                                        0.3          $300.00      $85.71
                           responses and document production
                           and
                           draft meet and confer letter

  10-5-2018       JO       Continue review of discovery          2.40   $425.00    $1,020.00                                      1.4          $300.00      $411.43
                           responses and document production
                           and
                           drafting meet and confer letter

  10-8-2018       JO       Draft and continue review and         5.20   $425.00    $2,210.00                                      3.0          $300.00      $891.43
                           finalize plaintiff's m/c letter re:
                           Defendant's deficient responses.

  10-18-2018      JO       Further meet and confer on            0.70   $425.00    $297.50                                        0.4          $300.00      $120.00
                           Defendant's discovery responses

  10-25-2018      CW       Review voicemail from opposing        0.10   $375.00    $37.50                                         0.1          $300.00      $17.14
                           counsel re Jake Ayres

  10-25-2018      CW       Email to OPC                          0.10   $375.00    $37.50                                         0.1          $300.00      $17.14

  10-26-2018      CW       Email with OPC re: supplemental       0.10   $375.00    $37.50                                         0.1          $300.00      $17.14
                           responses

  10-31-2018      CW       Review discovery and email to         0.40   $375.00    $150.00                                        0.2          $300.00      $68.57
                           OPC re: supplemental responses

  11-1-2018       CW       Email to OPC                          0.20   $375.00    $75.00                                         0.1          $300.00      $34.29

  11-2-2018       CW       emails with OPc re dates continued    0.20   $375.00    $75.00                                         0.1          $300.00      $34.29

  11-5-2018       CW       Email to OPC re: arbitration          0.30   $375.00    $112.50                                        0.2          $300.00      $51.43

  11-7-2018       CW       Emails with OPC re: transfer          0.20   $375.00    $75.00      Plaintiff filed complaint in the   0.0          $300.00      $0.00
                                                                                               wrong court. BMW NA’s Motion
                                                                                               to Transfer Venue granted.
  11-19-2018      CW       Review - Def letter re: punitive      0.10   $375.00    $37.50                                         0.1          $300.00      $17.14
                           damages and fraud claim


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                             Case 3:19-cv-00706-JM-BGS Document 61-1 Filed 05/22/20 PageID.2104 Page 5 of 26
  Date            Time     Description                           Time   Rate       Total     Comments                           Reasonable   Reasonable   Reasonable
                  keeper                                                                                                        Time         Rate         Total
  11-21-2018      CW       Email to OPC re: meet and confer      0.10   $375.00    $37.50                                       0.1          $300.00      $17.14

  11-26-2018      CW       Telephone call with opposing          0.10   $375.00    $37.50                                       0.1          $300.00      $17.14
                           Attorney

  11-26-2018      CW       email from OPC re m&C                 0.10   $375.00    $37.50                                       0.1          $300.00      $17.14

  11-26-2018      CW       Review - transfer order               0.10   $375.00    $37.50    Plaintiff filed complaint in the   0.0          $300.00      $0.00
                                                                                             wrong court. BMW NA’s Motion
                                                                                             to Transfer Venue granted.
  12-27-2018      CW       Review - notice of CASE               0.20   $375.00    $75.00                                       0.1          $300.00      $34.29
                           MANAGEMENT CONFERENCE
                           and CASE REASSIGNMENT

  1-2-2019        CW       Review and analyze - discovery        0.20   $395.00    $79.00                                       0.1          $300.00      $34.29
                           requests from defendant

  1-3-2019        CW       email from OPC                        0.10   $395.00    $39.50                                       0.1          $300.00      $17.14




  1-11-2019       CW       Review - Defs demurrer                0.30   $395.00    $118.50                                      0.2          $300.00      $51.43

  1-14-2019       NB       Draft and edit notice of deposition   0.80   $385.00    $308.00                                      0.5          $300.00      $137.14
                           of Michael Murray

  1-15-2019       CW       Email to OPC re: arbitration          0.10   $395.00    $39.50                                       0.1          $300.00      $17.14

  1-29-2019       CW       Review - motion to compel             0.30   $395.00    $118.50                                      0.2          $300.00      $51.43
                           arbitration




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  Date            Time     Description                             Time   Rate       Total       Comments   Reasonable   Reasonable   Reasonable
                  keeper                                                                                    Time         Rate         Total
  2-7-2019        GS       Review Defendant's objection to         0.20   $385.00    $70.00                 0.1          $300.00      $34.29
                           Plaintiff's notice of deposition of
                           PERSON MOST
                           KNOWLEDGEABLE




  2-8-2019        NB       Draft MEET AND CONFER                   1.00   $385.00    $385.00                0.6          $300.00      $171.43
                           LETTER re Michael Murray

  2-13-2019       GS       Review Defendant's meet and             0.90   $350.00    $315.00                0.5          $300.00      $154.29
                           confer letter regarding deposition of
                           Michael Murray and draft response

  3-1-2019        GS       Phone call from client re               0.30   $350.00    $105.00                0.2          $300.00      $51.43

  3-1-2019        NB       Draft MEET AND CONFER                   1.00   $385.00    $385.00                0.6          $300.00      $171.43
                           LETTER re Michael Murray

  3-12-2019       GS       Review Defendant's Notice and           1.20   $385.00    $462.00                0.7          $300.00      $205.71
                           Motion and Motion to Quash
                           Notice of Deposition of Michael J.
                           Murray; Declaration by Ian G.
                           Schuler in Support of Motion to
                           Quash Notice of Depo and research
                           re same

  3-12-2019       GS       Review Defendant's Notice and           1.50   $385.00    $577.50                0.9          $300.00      $257.14
                           Motion and Motion for a Protective
                           Order; Declaration by Ian G.
                           Schuler in Support of Motion for a
                           Protective Order and research re
                           same

  3-28-2019       GS       Draft Plaintiff's Case Management       0.30   $350.00    $105.00                0.2          $300.00      $51.43
                           statement and notice of posting jury
                           Fees

  3-29-2019       NB       Draft MOTION TO COMPEL                  3.80   $385.00    $1,463.00              2.2          $300.00      $651.43
                           Murray

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                             Case 3:19-cv-00706-JM-BGS Document 61-1 Filed 05/22/20 PageID.2106 Page 7 of 26
  Date            Time     Description                           Time   Rate       Total       Comments   Reasonable   Reasonable   Reasonable
                  keeper                                                                                  Time         Rate         Total
  3-29-2019       CJS      drafted and revised FAC and           1.50   $365.00    $547.50                0.9          $300.00      $257.14
                           finalized for filing

  4-1-2019        NB       Continue drafting MOTION TO           3.50   $385.00    $1,347.50              2.0          $300.00      $600.00
                           COMPEL re Michael Murray

  4-3-2019        GS       Review and analyze defendant's        0.10   $350.00    $35.00                 0.1          $300.00      $17.14
                           case management statement

  4-9-2019        CJS      exchanged emails regarding            0.30   $365.00    $109.50                0.2          $300.00      $51.43
                           MOTION TO COMPEL Michael
                           Murray

  4-10-2019       GS       Continue legal research and review    1.20   $350.00    $420.00                0.7          $300.00      $205.71
                           and analyze Defendant's motion to
                           quash depo subpoena of Michael
                           Murray, and defendant's motion for
                           a protective order

  4-15-2019       GS       Phone call from client re             0.20   $350.00    $70.00                 0.1          $300.00      $34.29

  4-15-2019       GS       Email to client re                    0.20   $350.00    $70.00                 0.1          $300.00      $34.29

  4-15-2019       GS       Draft Plaintiff's Request for         0.20   $350.00    $70.00                 0.1          $300.00      $34.29
                           Dismissal re dealership defendant

  4-15-2019       GS       Email to opposing counsel re meet     0.10   $350.00    $35.00                 0.1          $300.00      $17.14
                           and confer re motion to compel
                           arbitration




  4-16-2020       CJH      discuss with P.S. and draft EX        0.70   $410.00    $287.00                0.4          $300.00      $120.00
                           PARTE notice to opposing counsel

  4-16-2019       KT       Draft EX PARTE Application to         6.80   $445.00    $3,026.00              3.9          $300.00      $1,165.71
                           continue arbitration and protective
                           order motions.


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  Date            Time     Description                            Time   Rate       Total     Comments   Reasonable   Reasonable   Reasonable
                  keeper                                                                                 Time         Rate         Total
  4-17-2019       CJH      Review, finalize for filing EX         1.80   $410.00    $738.00              1.0          $300.00      $308.57
                           PARTE to have D's motions
                           continued (MOTION FOR
                           PROTECTIVE ORDER, MTQ,
                           MOTION TO COMPEL
                           ARBITRATION); emails with OC
                           re same

  4-18-2019       CJH      prepare for and appear via courtcall   0.80   $410.00    $328.00              0.5          $300.00      $137.14
                           at P EX PARTE hearings to
                           continue D's motion hearings

  4-22-2019       GS       Review and analyze Defendant's         0.80   $350.00    $280.00              0.5          $300.00      $137.14
                           Notice of removal, Answer to first
                           amended complaint

  4-24-2019       CJH      review federal deadlines and email     0.30   $410.00    $123.00              0.2          $300.00      $51.43
                           Gregory Sogoyan re same




  4-28-2019       CJS      email exchanges regarding notice       0.50   $365.00    $182.50              0.3          $300.00      $85.71
                           of removal and federal case
                           procedure; reviewed email
                           exchange re magistrate and judge

  6-10-2019       GS       Telephone call with opposing           0.50   $350.00    $175.00              0.3          $300.00      $85.71
                           Attorney re Rule 26(f) conference.


  6-11-2019       GS       Email to opposing counsel              0.20   $350.00    $70.00               0.1          $300.00      $34.29
                           memorializing Rule 26(f)
                           conference discussion




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  Date            Time     Description                             Time   Rate       Total     Comments                            Reasonable   Reasonable   Reasonable
                  keeper                                                                                                           Time         Rate         Total
  6-11-2019       GS       Draft Plaintiff's Notice of             0.60   $350.00    $210.00   Excessive, same boilerplate plate   0.3          $300.00      $102.86
                           Deposition of Defendant's Rule                                      requests in every case.
                           30(b)(6) witness

  6-11-2019       GS       Draft Plaintiff's requests for          0.50   $350.00    $175.00   Excessive, same boilerplate plate   0.3          $300.00      $85.71
                           interrogatories to Defendant                                        requests in every case.

  6-11-2019       GS       Draft Plaintiff's requests for          0.50   $350.00    $175.00   Excessive, same boilerplate plate   0.3          $300.00      $85.71
                           admissions to Defendant                                             requests in every case.

  6-11-2019       GS       Draft Plaintiff's requests for          0.50   $350.00    $175.00   Excessive, same boilerplate plate   0.3          $300.00      $85.71
                           production of documents to                                          requests in every case.
                           Defendant

  6-24-2019       CJS      reviewed case file, docket and local    0.40   $365.00    $146.00                                       0.2          $300.00      $68.57
                           rules re discovery


  7-2-2019        CJS      drafted and finalized amended           1.00   $365.00    $365.00                                       0.6          $300.00      $171.43
                           notice of deposition for Michael
                           Murray

  7-3-2019        GS       Draft Plaintiff's initial disclosures   2.40   $350.00    $840.00                                       1.4          $300.00      $411.43

  7-12-2019       CJH      Review and edit joint report and        0.70   $410.00    $287.00                                       0.4          $300.00      $120.00
                           discuss edits with GS

  7-12-2019       CJH      Review, edit and finalize ENE           0.80   $410.00    $328.00                                       0.5          $300.00      $137.14
                           statement




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  Date            Time     Description                             Time    Rate       Total       Comments                            Reasonable   Reasonable   Reasonable
                  keeper                                                                                                              Time         Rate         Total
  7-12-2019       GS       Review entire file, including all       5.50    $350.00    $1,925.00                                       3.1          $300.00      $942.86
                           documents produced by Plaintiff
                           and
                           defendant and draft Plaintiff's early
                           neutral evaluation statement

  7-12-2019       GS       Draft, revise, and finalize the         3.10    $350.00    $1,085.00                                       1.8          $300.00      $531.43
                           parties' Joint Rule 26(f) Discovery
                           Plan

  7-24-2019       GS       Phone call from client re               0.60    $350.00    $210.00                                         0.3          $300.00      $102.86

  7-24-2019       CJS      research re ENE and re-scheduled        0.50    $365.00    $182.50                                         0.3          $300.00      $85.71
                           status conference and ENE; email
                           to client re

  8-14-2019       GS       Attend Early Neutral Evaluation, in     9.40    $350.00    $3,290.00   Block-billing entry.                5.4          $300.00      $1,611.43
                           San Diego

  9-14-2019       CJH      research for and draft amended rule     2.50    $410.00    $1,025.00   Excessive, same boilerplate plate   1.4          $300.00      $428.57
                           30(b)(6) depo notice                                                   notice in every case.

  9-16-2019       CJH      research re amended rule 30b6           1.40    $410.00    $574.00     Excessive, same boilerplate plate   0.8          $300.00      $240.00
                           notice of depo and revise amended                                      notice in every case.
                           rule 30(b)(6) notice

  9-26-2019       CJH      Finalize amended depo notice of         0.30    $410.00    $123.00     Excessive, same boilerplate plate   0.2          $300.00      $51.43
                           Murray                                                                 notice in every case.

  9-30-2019       GY       Research re opposition to motion to     7.60    $525.00    $3,990.00                                       4.3          $300.00      $1,302.86
                           compel arbitration.

  10-1-2019       GY       Draft opposition to motion to           10.50   $525.00    $5,512.50                                       6.0          $300.00      $1,800.00
                           compel arbitration.

  10-2-2019       CJH      review discovery deadlines in           0.30    $410.00    $123.00                                         0.2          $300.00      $51.43
                           preparation for trial, email re
                           MOTION TO COMPEL PMQ and
                           RFP


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  Date            Time     Description                            Time    Rate       Total       Comments   Reasonable   Reasonable   Reasonable
                  keeper                                                                                    Time         Rate         Total
  10-2-2019       GY       Continue drafting opposition to        11.40   $525.00    $5,985.00              6.5          $300.00      $1,954.29
                           motion to compel arbitration.

  10-3-2019       CJH      conference call with co counsel        0.40    $410.00    $164.00                0.2          $300.00      $68.57
                           Dara T re strategy and arguments
                           for upcoming MOTION TO
                           COMPEL PMQ and RFP + strategy
                           re rules re
                           same and strategy re MEET AND
                           CONFER

  10-6-2019       GY       Email exchange with P. Shahian re      0.60    $525.00    $315.00                0.3          $300.00      $102.86
                           revisions to opposition to motion to
                           compel arbitration.

  10-6-2019       GY       Revise opposition to motion to         11.10   $525.00    $5,827.50              6.3          $300.00      $1,902.86
                           compel arbitration.




  10-7-2019       CJH      finalize for filing opp to D           0.80    $410.00    $328.00                0.5          $300.00      $137.14
                           MOTION TO COMPEL arbitration
                           and all supporting docs
  10-8-2019       CJH      calls to client re                     0.40    $410.00    $164.00                0.2          $300.00      $68.57



  10-8-2019       GY       Receive, study, and archive email      0.20    $525.00    $105.00                0.1          $300.00      $34.29
                           from P. Shahian re drafting notice
                           of supplemental authority in
                           support of opposition to motion to
                           compel arbitration.

  10-8-2019       GY       Draft notice of supplemental           1.50    $525.00    $787.50                0.9          $300.00      $257.14
                           authority in support of opposition
                           to motion         to compel
                           arbitration.

  10-13-2019      GY       Email exchange with P. Shahian re      0.20    $525.00    $105.00                0.1          $300.00      $34.29
                           revisions of notice of supplemental

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  Date            Time     Description                            Time   Rate       Total       Comments   Reasonable   Reasonable   Reasonable
                  keeper                                                                                   Time         Rate         Total
                           authority in support of opposition
                           to motion to compel arbitration.

  10-13-2019      GY       Revise notice of supplemental          0.50   $525.00    $262.50                0.3          $300.00      $85.71
                           authority in support of opposition
                           to
                           motion to compel arbitration.

  10-15-2019      GY       Receive, study, and archive emails     0.10   $525.00    $52.50                 0.1          $300.00      $17.14
                           from P. Shahian re responding to
                           Defendant's unauthorized sur-reply
                           in support of motion to compel
                           arbitration.


  10-15-2019      GY       Research re responding to              0.80   $525.00    $420.00                0.5          $300.00      $137.14
                           Defendant's unauthorized sur-reply
                           in support of motion to compel
                           arbitration.

  10-21-2019      CJH      review pmq depo + rfp notice and       2.00   $410.00    $820.00                1.1          $300.00      $342.86
                           objections to same; draft MEET
                           AND CONFER LETTER re same
                           and research re same

  10-22-2019      KT       Legal research for statements in       3.70   $445.00    $1,646.50              2.1          $300.00      $634.29
                           several of BMW's reply briefs for
                           its motion to compel arbitration
                           because it made misleading
                           statements to the Court in those and
                           again in the Jurosky reply.
                           Obtained from Federal Court
                           Docket documents from the
                           underlying District Court Order that
                           led to Kramer for RJN. Read
                           District Court Order.

  10-24-2019      CJH      review stranding order and call        0.20   $410.00    $82.00                 0.1          $300.00      $34.29
                           court re MEET AND CONFER call
                           re


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  Date            Time     Description                            Time   Rate       Total       Comments                              Reasonable   Reasonable   Reasonable
                  keeper                                                                                                              Time         Rate         Total
                           amended notice of depo of 30b6
                           witness and RFPs


  11-5-2019       GY       Draft supplemental request for         8.70   $525.00    $4,567.50   Unreasonable and excessive billing    5.0          $300.00      $1,491.43
                           judicial notice in response to BMW                                   for supplemental request for
                           OF NORTH AMERICA's further                                           judicial notice.
                           request for judicial notice re Arab.

  11-5-2019       GY       Receive, study, and archive email      0.10   $525.00    $52.50                                            0.1          $300.00      $17.14
                           from P. Shahian re draft
                           supplemental request for judicial
                           notice in response to BMW OF
                           NORTH AMERICA's further RJN
                           re Arab.

  11-6-2019       GY       Draft motion to amend case             7.50   $525.00    $3,937.50   Unreasonable and excessive billing    4.3          $300.00      $1,285.71
                           schedule.                                                            for drafting motion to amend case
                                                                                                schedule.

  11-22-2019      GY       Receive, study, and archive email      0.10   $525.00    $52.50      Plaintiff eventually withdrew the     0.0          $300.00      $0.00
                           from P. Shahian re drafting Rule 11                                  Rule 11 Motion for Sanctions
                           sanctions letter.

  11-26-2019      GY       Conduct legal research and draft       6.30   $525.00    $3,307.50   Duplicative billing. Ecotech          3.6          $300.00      $1,080.00
                           informal Rule 11 notice re                                           already billed an unreasonable 22.6
                           defendant's misrepresentations re                                    hours to prepare and file a Rule 11
                           arbitration clause in Kramer.                                        Motion for Sanctions

  12-4-2019       GS       Draft Plaintiff's Requests for         1.10   350.00     $385.00     Excessive, same boilerplate plate     0.6          $300.00      $188.57
                           Production, Set Two                                                  requests in every case.

  1-10-2020       GS       Review Defendants Requests for         8.40   $385.00    $3,234.00                                         4.8          $300.00      $1,440.00
                           Production, Requests for
                           Admissions,
                           and Interrogatories, consult with
                           client, and prepare responses to
                           Requests for Production, Requests
                           for Admissions, and Interrogatories




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  Date            Time     Description                             Time   Rate       Total       Comments   Reasonable   Reasonable   Reasonable
                  keeper                                                                                    Time         Rate         Total
  2-21-2020       GS       Meet and confer with opposing           0.30   $385.00    $115.50                0.2          $300.00      $51.43
                           counsel regarding discovery plan

  3-4-2020        GS       Meet and confer with opposing           0.20   $385.00    $77.00                 0.1          $300.00      $34.29
                           counsel regarding mediation

  3-23-2020       GS       Draft Plaintiff's Opposition to         7.80   $385.00    $3,003.00              4.5          $300.00      $1,337.14
                           Defendant's Motion for Judgment
                           on the Pleadings re Plaintiff's Fraud
                           Cause of Action; Plaintiff's Request
                           for Judicial Notice in Support of
                           Plaintiff's Opposition--upon
                           reviewing and analyzing
                           Defendant's moving papers

  4-14-2020       GS       Phone call to client re                 0.20   $385.00    $77.00                 0.1          $300.00      $34.29



  4-14-2020       GS       discuss case with plaintiff's expert,   1.40   $385.00    $539.00                0.8          $300.00      $240.00
                           Dan Calef, including upcoming
                           expert report and provide necessary
                           documents

  4-15-2020       GS       Phone call with client regarding        0.90   $385.00    $346.50                0.5          $300.00      $154.29

  4-16-2020       GS       Draft case evaluation to analyze        4.50   $385.00    $1,732.50              2.6          $300.00      $771.43
                           Defendant's Rule 68 Offer to
                           Compromise

  4-16-2020       GS       Discuss with client                     0.90   $385.00    $346.50                0.5          $300.00      $154.29

  4-16-2020       GS       Review file and conduct telephone       0.60   $385.00    $231.00                0.3          $300.00      $102.86
                           call with opposing counsel
                           regarding outstanding discovery

  4-16-2020       GS       Prepare for and conduct phone call      1.10   $385.00    $423.50                0.6          $300.00      $188.57
                           with client and plaintiff's expert
                           Dan Calef


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  Date            Time     Description                            Time   Rate       Total     Comments   Reasonable   Reasonable   Reasonable
                  keeper                                                                                 Time         Rate         Total
  4-16-2020       GS       Provide relevant information and       1.20   $385.00    $462.00              0.7          $300.00      $205.71
                           documents to plaintiff's expert, Dan
                           Calef to help facilitate plaintiff's
                           expert report

  4-17-2020       GS       Review and analyze additional          0.90   $385.00    $346.50              0.5          $300.00      $154.29
                           documents produced by defendant
                           as
                           well as existing repair orders to
                           draft updated repair chronology for
                           case evaluation

  4-17-2020       GS       Prepare for and conduct telephone      0.50   $385.00    $192.50              0.3          $300.00      $85.71
                           call with opposing counsel re
                           outstanding discovery and potential
                           settlement.

  4-17-2020       GS       Finalize plaintiff's expert report     1.10   $385.00    $423.50              0.6          $300.00      $188.57
                           with exhibits and serve on opposing
                           counsel

  4-17-2020       GS       Review and analyze Defendant's         1.40   $385.00    $539.00              0.8          $300.00      $240.00
                           Expert Report to assess Defendant's
                           Rule 68 offer




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                            Case 3:19-cv-00706-JM-BGS Document 61-1 Filed 05/22/20 PageID.2115 Page 16 of 26
  Date            Time     Description                           Time   Rate       Total     Comments   Reasonable   Reasonable   Reasonable
                  keeper                                                                                Time         Rate         Total
  4-20-2020       JC       review and analyze case evaluation    0.90   $460.00    $414.00              0.5          $300.00      $154.29
                           and Rule 68 and communicate rule
                           68 to client




  4-20-2020       JC       sign and accept rule 68 offer and     0.20   $460.00    $92.00               0.1          $300.00      $34.29
                           send to opposing counsel




  4-20-2020       JC       review local rules and file rule 68   0.40   $460.00    $184.00              0.2          $300.00      $68.57
                           for judgment




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                            Case 3:19-cv-00706-JM-BGS Document 61-1 Filed 05/22/20 PageID.2116 Page 17 of 26
  Date            Time     Description                            Time    Rate       Total       Comments                            Reasonable   Reasonable   Reasonable
                  keeper                                                                                                             Time         Rate         Total
  5-1-2020        JC       draft fee motion declaration           3.60    $460.00    $1,656.00                                       2.1          $300.00      $617.14




  5-4-2020        JC       draft shahian declaration, request     2.10    $460.00    $966.00                                         1.2          $300.00      $360.00
                           for judicial notice, proposed order,
                           and continue drafting declaration


  5-4-2020        JC       correspond with opposing counsel       0.20    $460.00    $92.00                                          0.1          $300.00      $34.29
                           on documents needed for surrender




  5-5-2020        JC       review time records and meet and       0.50    $460.00    $230.00                                         0.3          $300.00      $85.71
                           confer on fees, costs and expenses


  5-5-2020        GY       Draft fee motion.                      10.70   $550.00    $5,885.00   Unreasonable. Plaintiff's counsel   6.1          $300.00      $1,834.29
                                                                                                 spends 27.3 hours on a stock fee
                                                                                                 motion and bill of costs.




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  Date            Time     Description                              Time   Rate       Total       Comments                            Reasonable   Reasonable   Reasonable
                  keeper                                                                                                              Time         Rate         Total
  5-6-2020        JC       further meet and confer on fees,         0.30   $460.00    $138.00     Unreasonable. Plaintiff's counsel   0.2          $300.00      $51.43
                           costs and expenses                                                     spends 27.3 hours on a stock fee
                                                                                                  motion and bill of costs.




  5-6-2020        JC       review local rules and standing          3.50   $460.00    $1,610.00   Unreasonable. Plaintiff's counsel   2.0          $300.00      $600.00
                           order and perform research re bill                                     spends 27.3 hours on a stock fee
                           of                                                                     motion and bill of costs.
                           costs. Draft declaration in support
                           of bill of costs.

  5-6-2020        JC       calls and emails with court clerk re     0.40   $460.00    $184.00     Unreasonable. Plaintiff's counsel   0.2          $300.00      $68.57
                           reservations for motion for                                            spends 27.3 hours on a stock fee
                           attorneys                                                              motion and bill of costs.
                           fee and application for costs

  5-6-2020        GY       Revise fee motion.                       7.50   $550.00    $4,125.00   Unreasonable. Plaintiff's counsel   4.3          $300.00      $1,285.71
                                                                                                  spends 27.3 hours on a stock fee
                                                                                                  motion and bill of costs.




  5-7-2020        JC       finalize application for costs and all   2.70   $460.00    $1,242.00   Unreasonable. Plaintiff's counsel   1.5          $300.00      $462.86
                           supporting documents                                                   spends 27.3 hours on a stock fee
                                                                                                  motion and bill of costs.
  5-7-2020        JC       finalize fee motion and all              2.20   $460.00    $1,012.00   Unreasonable. Plaintiff's counsel   1.3          $300.00      $377.14
                           supporting documents                                                   spends 27.3 hours on a stock fee
                                                                                                  motion and bill of costs.

  For Professional Services Rendered / Additional Charges

  7-17-2018                First Legal - Filing - SCSC -                              $518.80                                                                   $0.00
                           Sacramento - Summons &
                           Complaint


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  Date            Time     Description                         Time   Rate    Total     Comments                            Reasonable   Reasonable   Reasonable
                  keeper                                                                                                    Time         Rate         Total
  7-20-2018                First Legal -Process BMW of North                  $40.75    Costs and expenses already                                    $0.00
                           America LLC - SUMM; COMP;                                    accounted for in Plaintiff's
                           ADR; NOTICE OF CMC                                           Application for the Bill of Costs




  7-20-2018                First Legal -Process - Bob Smith                   $120.75   Costs and expenses already                                    $0.00
                           BMW - SUMM; COMP; ADR;                                       accounted for in Plaintiff's
                           NOTICE OF CMC                                                Application for the Bill of Costs




  7-24-2018                First Legal -Filing - SDSC - San                   $43.80    Costs and expenses already                                    $0.00
                           Diego - 2x POS                                               accounted for in Plaintiff's
                                                                                        Application for the Bill of Costs

  9-20-2018                Expenses paid to Deliver-It for                    $7.47     Costs and expenses already                                    $0.00
                           delivery to Dinsmore and Shohl,                              accounted for in Plaintiff's
                           LLP                                                          Application for the Bill of Costs

                           DOCUMENTS: OPP TO DEF
                           MOTION TO TRANSFER

  9-20-2018                Expenses paid to First Legal                       $43.80    Costs and expenses already                                    $0.00
                           Network for filing in LASC                                   accounted for in Plaintiff's
                                                                                        Application for the Bill of Costs
                           DOCUMENTS: P'S OPP

  10-3-2018                Expenses Paid to CourtCall for                     $86.00    Costs and expenses already                                    $0.00
                           Remote Appearance Reservation in                             accounted for in Plaintiff's
                           SACSC                                                        Application for the Bill of Costs




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  Date            Time     Description                          Time   Rate    Total     Comments                            Reasonable   Reasonable   Reasonable
                  keeper                                                                                                     Time         Rate         Total
  10-3-2018                Expense paid to On-Call Legal for                   $125.00   Costs and expenses already                                    $0.00
                           Court Reporting Fee Advance                                   accounted for in Plaintiff's
                                                                                         Application for the Bill of Costs
  10-25-2018               Expenses Paid to On-Call Legal for                  $580.00   Costs and expenses already                                    $0.00
                           Court Filing in SACSC                                         accounted for in Plaintiff's
                                                                                         Application for the Bill of Costs
                           DOCUMENTS: CHECKS
                           ADVANCES

  1-31-2019                Expenses paid to Deliver-It for                     $8.64     Costs and expenses already                                    $0.00
                           delivery to Dinsmore and Shohl,                               accounted for in Plaintiff's
                           LLP                                                           Application for the Bill of Costs

                           DOCUMENTS: NOTICE OF
                           DEPO

  3-28-2019                Expenses paid to First Legal                        $177.00   Costs and expenses already                                    $0.00
                           Network for E-filing in SDSC                                  accounted for in Plaintiff's
                                                                                         Application for the Bill of Costs
                           DOCUMENTS: CMS; NOTICE
                           OF POSTING JURY FEES

  3-29-2019                Expenses paid to Deliver-It for                     $8.40     Costs and expenses already                                    $0.00
                           delivery to Dinsmore and Shohl,                               accounted for in Plaintiff's
                           LLP                                                           Application for the Bill of Costs

                           DOCUMENTS: 1ST AMENDED
                           COMPLAINT; AMENDED POS

  3-29-2019                Expenses paid to First Legal                        $27.00    Costs and expenses already                                    $0.00
                           Network for E-filing in SDSC                                  accounted for in Plaintiff's
                                                                                         Application for the Bill of Costs
                           DOCUMENTS: AMENDED POS




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  Date            Time     Description                        Time   Rate    Total     Comments                            Reasonable   Reasonable   Reasonable
                  keeper                                                                                                   Time         Rate         Total
  3-29-2019                Expenses paid to First Legal                      $27.00    Costs and expenses already                                    $0.00
                           Network for E-filing in LASC                                accounted for in Plaintiff's
                                                                                       Application for the Bill of Costs
                           DOCUMENTS: P'S FIRST
                           AMENDED COMP

  4-12-2019                Expenses Paid to CourtCall for                    $94.00    Costs and expenses already                                    $0.00
                           Remote Appearance Reservation in                            accounted for in Plaintiff's
                           SDSC                                                        Application for the Bill of Costs

                           CASE MANAGEMENT
                           CONFERENCE

  4-12-2019                Deposition Costs paid to First                    $500.00   Costs and expenses already                                    $0.00
                           Legal Depositions                                           accounted for in Plaintiff's
                                                                                       Application for the Bill of Costs
                           DOCUMENTS: 4/12/19
                           HEARING - MOTION ONLY

  4-15-2019                Expenses paid to Deliver-It for                   $8.40     Costs and expenses already                                    $0.00
                           delivery to Dinsmore and Shohl,                             accounted for in Plaintiff's
                           LLP                                                         Application for the Bill of Costs

                           DOCUMENTS: OPP TO MOTION
                           TO COMPEL




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  Date            Time     Description                         Time   Rate    Total     Comments                            Reasonable   Reasonable   Reasonable
                  keeper                                                                                                    Time         Rate         Total
  4-15-2019                Expenses paid to First Legal                       $67.00    Costs and expenses already                                    $0.00
                           Network for E-filing in SDSC                                 accounted for in Plaintiff's
                                                                                        Application for the Bill of Costs
                           DOCUMENTS: P'S OPP; DECL




  4-15-2019                Expenses paid to First Legal                       $27.00    Costs and expenses already                                    $0.00
                           Network for E-filing in LASC                                 accounted for in Plaintiff's
                                                                                        Application for the Bill of Costs
                           DOCUMENTS: RFD

  4-16-2019                Expense paid to LASC For                           $7.50     Costs and expenses already                                    $0.00
                           Document Download                                            accounted for in Plaintiff's
                                                                                        Application for the Bill of Costs
                           DOCUMENTS: 4/12/19 MINUTE
                           ORDER

  4-16-2019                Expenses paid to First Legal                       $27.00    Costs and expenses already                                    $0.00
                           Network for E-filing in SDSC                                 accounted for in Plaintiff's
                                                                                        Application for the Bill of Costs
                           DOCUMENTS: NOTICE

  4-17-2019                Expenses paid to First Legal                       $159.95   Costs and expenses already                                    $0.00
                           Network for E-filing in SDSC                                 accounted for in Plaintiff's
                                                                                        Application for the Bill of Costs
                           DOCUMENTS: EX PARTE;
                           DECL; PROP ORDER

  4-17-2019                Expenses paid to First Legal                       $45.25    Costs and expenses already                                    $0.00
                           Network for PDF courtesy delivery                            accounted for in Plaintiff's
                                                                                        Application for the Bill of Costs

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  Date            Time     Description                          Time   Rate    Total     Comments                            Reasonable   Reasonable   Reasonable
                  keeper                                                                                                     Time         Rate         Total
                           in SDSC - COURTESY COPY
                                  TO JUDGE

                           DOCUMENTS: EX PARTE;
                           DECL; PROP ORDER

  4-17-2019                Expenses paid to First Legal                        $45.25    Costs and expenses already                                    $0.00
                           Network for PDF courtesy delivery                             accounted for in Plaintiff's
                           in SDSC - COPY TO                                             Application for the Bill of Costs
                           CALENDAR CLERK

                           DOCUMENTS: EX PARTE;
                           DECL; PROP ORDER

  4-17-2019                Expenses paid to First Legal                        $27.00    Costs and expenses already                                    $0.00
                           Network for E-filing in SDSC                                  accounted for in Plaintiff's
                                                                                         Application for the Bill of Costs
                           DOCUMENTS: POS

  4-18-2019                Expenses Paid to CourtCall for                      $94.00    Costs and expenses already                                    $0.00
                           Remote Appearance Reservation in                              accounted for in Plaintiff's
                           SDSC                                                          Application for the Bill of Costs

                           EX PARTE

  4-18-2019                Deposition Costs paid to First                      $873.50   Costs and expenses already                                    $0.00
                           Legal Depositions                                             accounted for in Plaintiff's
                                                                                         Application for the Bill of Costs
                           DOCUMENTS: 4/18/19
                           HEARING

  8-14-2019                Expense paid to Gregory Sogoyan                     $231.26   Costs and expenses already                                    $0.00
                           to attend Early Neutral Evaluation                            accounted for in Plaintiff's
                           in SAN DIEGO                                                  Application for the Bill of Costs

                           Mileage $181.35
                           Parking $30.00
                           Meals $19.91




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  Date            Time     Description                         Time   Rate    Total     Comments                            Reasonable   Reasonable   Reasonable
                  keeper                                                                                                    Time         Rate         Total
  9-16-2019                Expenses paid to First Legal                       $143.20   Costs and expenses already                                    $0.00
                           Network for process service to                               accounted for in Plaintiff's
                           Morgan Lewis & Bockius, LLP,                                 Application for the Bill of Costs
                           SAN FRANCISCO office

                           DOCUMENTS: FIRST
                           AMENDED NOTICE

  9-26-2019                Expenses paid to First Legal                       $120.00   Costs and expenses already                                    $0.00
                           Network for process service to                               accounted for in Plaintiff's
                           Morgan Lewis & Bockius, LLP,                                 Application for the Bill of Costs
                           Los Angeles office.

                           DOCUMENTS: SRT AMENDED
                           NOTICE

  10-8-2019                Expenses paid to First Legal                       $37.00    Costs and expenses already                                    $0.00
                           Network for PDF courtesy delivery                            accounted for in Plaintiff's
                           in USDC - SAN DIEGO                                          Application for the Bill of Costs

                           DOCUMENTS: DEC; P'S OPP;
                           RJN

  10-14-2019               Expenses paid to First Legal                       $28.75    Costs and expenses already                                    $0.00
                           Network for PDF courtesy delivery                            accounted for in Plaintiff's
                           in USDC - SAN DIEGO                                          Application for the Bill of Costs

                           DOCUMENTS: DEC; NOTICE
                           OF APPEARANCE; NOTICE OF
                           SUPP AUTH

  10-21-2019               Expenses paid to Deliver-It for                    $8.95     Costs and expenses already                                    $0.00
                           delivery to Morgan Lewis &                                   accounted for in Plaintiff's
                           Bockius, LLP LOS ANGELES                                     Application for the Bill of Costs

                           DOCUMENTS: MEET AND
                           CONFER LETTER

  10-21-2019               Expenses paid to Deliver-It for                    $14.65    Costs and expenses already                                    $0.00
                           delivery to Morgan Lewis &                                   accounted for in Plaintiff's
                           Bockius, LLP SAN FRANCISCO                                   Application for the Bill of Costs

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  Date            Time     Description                         Time   Rate    Total     Comments                            Reasonable   Reasonable   Reasonable
                  keeper                                                                                                    Time         Rate         Total


                           DOCUMENTS: MEET AND
                           CONFER LETTER

  11-5-2019                Expenses paid to First Legal                       $46.90    Costs and expenses already                                    $0.00
                           Network for PDF courtesy delivery                            accounted for in Plaintiff's
                           in USDC - SAN DIEGO                                          Application for the Bill of Costs

                           DOCUMENTS: P'S SUPP

  12-4-2019                Expenses paid to Deliver-It for                    $9.23     Costs and expenses already                                    $0.00
                           delivery to Morgan Lewis &                                   accounted for in Plaintiff's
                           Bockius, LLP - LOS ANGELES                                   Application for the Bill of Costs

                           DOCUMENTS: P'S RFP SET 2

  12-4-2019                Expenses paid to Deliver-It for                    $14.93    Costs and expenses already                                    $0.00
                           delivery to Morgan Lewis &                                   accounted for in Plaintiff's
                           Bockius, LLP - SAN FRANCISCO                                 Application for the Bill of Costs

                           DOCUMENTS: P'S RFP SET 2

  12-20-2019               Expenses paid to Deliver-It for                    $14.93    Costs and expenses already                                    $0.00
                           delivery to Morgan Lewis &                                   accounted for in Plaintiff's
                           Bockius, LLP - SAN FRANCISCO                                 Application for the Bill of Costs

                           DOCUMENTS: SUPP
                           DISCOVERY

  12-20-2019               Expenses paid to Deliver-It for                    $9.23     Costs and expenses already                                    $0.00
                           delivery to Morgan Lewis &                                   accounted for in Plaintiff's
                           Bockius, LLP - LOS ANGELES                                   Application for the Bill of Costs

                           DOCUMENTS: SUPP
                           DISCOVERY

  1-27-2020                Expenses paid to First Legal                       $128.25   Costs and expenses already                                    $0.00
                           Network for process service to                               accounted for in Plaintiff's
                           Morgan Lewis & Bockius, LLP                                  Application for the Bill of Costs
                           DOCUMENTS: PROP ORDER;
                           DEC; NOTICE; CERT

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  Date            Time     Description                         Time   Rate      Total       Comments                            Reasonable   Reasonable   Reasonable
                  keeper                                                                                                        Time         Rate         Total




  2-19-2020                Expenses paid to First Legal                         $55.15      Costs and expenses already                                    $0.00
                           Network for PDF courtesy delivery                                accounted for in Plaintiff's
                           in USDC - SAN DIEGO                                              Application for the Bill of Costs

                           DOCUMENTS: MEMO; PROP
                           ORDER; DEC; NOTICE

  2-25-2020                Expenses paid to First Legal                         $95.05      Costs and expenses already                                    $0.00
                           Network for PDF courtesy delivery                                accounted for in Plaintiff's
                           in USDC - SAN DIEGO                                              Application for the Bill of Costs

                           DOCUMENTS: JOINT STMNT;
                           DEC

  4-15-2020                Expense Paid to DCIAD for                            $3,166.46   Costs and expenses already                                    $0.00
                           preparation of Expert Report                                     accounted for in Plaintiff's
                                                                                            Application for the Bill of Costs


                                               TOTAL                  241.60                $114,617.20     REASONABLE          132.6                     $39,788.57
                                                                                                            TOTAL




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